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8                   IN THE UNITED STATES DISTRICT COURT
9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )       CR. No. S-10-299 WBS
                                     )
12                    Plaintiff,     )
                                     )       ORDER DISMISSING
13                 v.                )       SECOND SUPERSEDING INDICTMENT
                                     )       AS TO RICHARD AND LORI
14   RICHARD THURMAN, and            )       THURMON
     LORI THURMAN,                   )
15                                   )
                      Defendants.    )
16   ________________________________)
17        For good cause shown, it is hereby ORDERED dismissing all
18   charges in the second superseding indictment as to co-defendants
19   RICHARD THURMAN and LORI THURMAN.
20
21   DATED:_December 12, 2012         /s/ John A. Mendez
                                      U.S. DISTRICT JUDGE for
22                                    WILLIAM B. SHUBB
                                      U.S. DISTRICT JUDGE
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